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                IN THE UNITED STATES DISTRICT COURT FOR THE
                        EASTERN DISTRICT OF VIRGINIA
                            ALEXANDRIA DIVISION



 MAYA PARIZER, et al.,

          PLAINTIFFS,

          v.                                       CASE NO. 1:24-cv-00724-RDA-IDD

 AJP EDUCATIONAL FOUNDATION, INC.
 a/k/a AMERICAN MUSLIMS FOR
 PALESTINE, et al.,

          DEFENDANTS.



                   PRAECIPE WITH SUPPLEMENTAL AUTHORITY

       Defendant AJP Educational Foundation, Inc. d/b/a American Muslims for Palestine

(“AMP”) files this praecipe including supplemental authority issued on May 5, 2025, dismissing

claims against AMP under the Anti-Terrorism Act (“ATA”). Gerwaski v. State of Nevada, et al.,

2025 U.S. Dist. Lexis 84645 (D. Nev. May 5, 2025), attached as Ex. A hereto.

       Plaintiffs in this case plead the same cause of action against AMP under Count I of this

case. The plaintiffs’ factual allegations in the two cases also dovetail with each other. Judge

Gordon in Gerwaski quotes plaintiff in that case alleging that AMP (as well as National Students

for Justice in Palestine (“NSJP”)) operates a “propaganda machine for Hamas” with that plaintiff

citing “27 pages of extensive facts creating a direct nexus” between Hamas and AMP. Ex. A at 3,

10. See First Amended Complaint in this case, Dkt. 24, at pp. 3, 4, 7, 8, 9, 12, 13 (some of the

dozens of references to AMP and propaganda).




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       The Gerwaski Court, citing Twitter, Inc., v Taamneh, 598 U.S. 471 (2023), held that

liability requires that “defendant consciously and culpably participated in a wrongful act so as to

help make it succeed.” Id. at 9.   Despite its extensive factual allegations, plaintiff did not allege

“any actions by the [AMP] that substantially assisted the October 7, 2023 act of international

terrorism,” and the Court dismissed the ATA claim.

       In addition, the Gerwaski Court relied on First Amendment protections, citing Snyder v.

Phelps, 562 U.S. 443 (2011), NAACP v Claiborne Hardware Co., 458 U.S. 886 (1982), and

Brandenburg v. Ohio, 395 U.S. 444, 447 (1969). Under the First Amendment, allegations that

AMP provided support to terrorists (id. at 14), was “globalizing the intifada” (id. at 17) and made

statements such as “We Will Take Back Palestine” (id. at 18) all constitute protected speech. The

Court carefully distinguished between AMP and NSJP but concluded that NSJP’s “Day of

Resistance Toolkit” and statements that it was part of the “Unity Intifada” -- allegations rehashed

repeatedly in this case -- warranted protection as free speech under the First Amendment. See

Opinion at Ex. A, at 3, 15; see also First Amended Complaint in this case, Dkt 24, at pp. 3, 33-36,

and Exhibit A thereto (dozens of references to the same “Toolkit”), and at 3, 34-35, 48 (multiple

references to “Unity Intifada.”). Although the Gerwaski plaintiff alleged substantial connections

between defendants and their rhetoric and Hamas’ support of the defendants’ activities, the

Gerwaski court found the extensive allegations did not “plausibly show that AMP provided

personnel or services to Hamas rather than independent advocacy.” Id. at 15.

       AMP undisputedly advocates in the United States for Palestinian rights.         But as Judge

Gordon held in Gerwaski, that advocacy does not plausibly show that AMP assisted in the October

7, 2023 attacks or consciously participated in those acts as required under the ATA. That

conclusion is common sense; a U.S. non-profit, operating in the United States with no personnel



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overseas, cannot reasonably be presumed to have substantially assisted in the surprise attack in

Israel on October 7, 2023.



DATED: May 12, 2025.

Respectfully Submitted,

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Legal Fund of America




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                                CERTIFICATE OF SERVICE

       I certify that on May 12, 2025, I electronically filed the foregoing with the Clerk of Court

using the CM/ECF system, which will send notice of electronic filing to all counsel of record.



                                                     /s/ George R. A. Doumar___________
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